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                        UNITED STATES DiSTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION                              SEP      02      2020
                                                                     CLEr*ç   U.           F   CT CO
                                                                              N    I   I           TEXAS
                                                                                       DEFU       -LERF(

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      Plaintiff,

V.                                                    [Vio. 21 U.S.C. § 841(a)(1) and 841
                                                      (b)(1)(A) Possession with intent to
JOSHUA LAWRENCE PEREZ (I),                            Distribute 50 grams or more of
                                                      Methamphetamine, a Schedule II
      Defendant.                                      Controlled Subs lance;
                                                      Vio. 21 U.S.C. § 841(a)(1) and 841
                                                      (b)(1 )(B) Possession with intent to
                                                      Distribute 100 grams or more of
                                                      Heroin, a Schedule I Controlled
                                                      Substance;
                                                       Vio, 18 U.S.C. §924 (c)(l) Possession
                                                      of a Firearm in Furtherance of a Drug
                                                      Trafficking Offense;
                                                      Vio. 18 U.S.C. 922(g) (1) Felon in
                                                      Possession of a Firearm; and
                                                      Vie. 18 U.S.C. § 922(o) & 924(a)).
                                                      Unlawful Possession of a Machine
                                                      Gun]




THE GRAND JURY CHARGES:


                                       COUNT ONE
                        [21 U.S.C. §   84l(a)(l) and 841(b)(l)(A)j

     On or about March 26, 2020, in the Western District of Texas, Defendant,


                            JOSHUA LAWRENCE PEREZ,
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did unlawfully, knowingly and intentionally possess with intent to distribute a controlled

substance, which offense involved 50 grams or more of Methamphetamine, a Schedule II

Controlled Substance, in violation of Title 21, United States Code, Sections 841 (a)( 1) and

841 (b)( I )(A).

                                              COUNT TWO
                              [21 U.S.C. §     841(a)(1) and 841(b)(1)(B)]

        On or about March 26, 2020, in the Western District of Texas, Defendant,

                                  JOSHUA LAWRENCE PEREZ,

did unlawfully, knowingly and intentionally possess with intent to distribute a controlled

substance, which offense involved 100 grams or more of a substance containing a detectible

amount of Heroin, a Schedule I Controlled Substance, in violation of Title 21, United States Code,

Sections 841 (a)(1) and 841 (b)( 1 )(B).


                                             COUNT THREE
                                           [81 U.S.C. §924(c)(1)}

        On or about March 26, 2020, in the Western District of Texas, Defendant,

                                  JOSHUA LAWRENCE PEREZ,

did knowingly possess firearms, namely:

         1.A Springfield 1911 45 caliber, Serial No. N495513;
        2. an AK47 no Serial number;
        3. an AR15 Pikes Tactical, Serial No. 041088 and
        4. a Smith & Wesson 38 Super revolver, Serial No. DBD 1546

in furtherance of a drug trafficking crime that may be prosecuted in a court of the United States,

that is the offense alleged in Counts One and Two, in violation of Title 18, United States Code,

Section 924(c)(1).
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                                         COUNT FOUR
                                      [18 U.S.C. §922(g)(1)]

       On or about March 26, 2020, in the Western District of Texas, Defendant,

                               JOSHUA LAWRENCE PEREZ,

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed a firearm, namely:

       1.   a Glock 36, 45 caliber, Serial Number UYWO55;
       2.   a Drako AK47 rifle, Serial N. DB-9415-ISRO;
       3.   a Glock 27 40 caliber pistol, Serial No. HMY27I;
       4.   a Smith & Wesson M&P Shield 40 caliber, Serial No. HAW7408;
       5.   a Ru8er 45 caliber, Serial No. 66422653;
       6.   an AR Wind Ham WW15, Serial No. WW022 167;
       7.   an AR DPMS Pantera Arms A-IS, Serial No. FFAO3 5035;
       8.   a Ruger mini 14223 cal. Rifle, Serial No. 183-98063;
       9.   a Savage 39 22 cal. lever action rifle, Serial No. 629668;
      10.   a Mossberg 12-gauge shotgun, Serial No. U636056;
      11.   a Kimber Tactical Pro ii, Serial No. KRF6746;
      12.   a Springfield 1911 45 caliber, Serial No. N495513;
      13.   an AK47, Serial No. None;
      14.   an ARIS Pikes Tactical, Serial No. 041088; and
      15.   a Smith & Wesson 38 Super revolver, Serial No. DBD1546;

and the firearm had travelled in interstate and foreign commerce, in violation of Title 18, United

States Code, Section 922 (g)(1).

                                         COUNT FIVE
                                   [18 U.S.C.   §   922(o) & 924(a)]

       On or about March 26, 2020, in the Western District of Texas, Defendant,

                               JOSHUA LAWRENCE PEREZ,

did knowingly possess a machine gun, that is, a Glock, Model 27, .40 caliber pistol, serial number

HMY27I and one magazine, marked as a Glock but manufactured by Glock, therefore, an

unknown make and model, the magazine incorporates a selector switch and a metal "leg", which
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is designed and intended to convert a semiautomatic, Glock-type pistol into a machinegun, in

violation of Title 18, United States Code, Sections 922(o) and 924(a)(2).



    NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE

                                   [See   Fed. R. Crim. P. 32.2J

                                                 I.

                         Drug Violations and Forfeiture Statutes
   [Title 21 U.S.C. § 841(a)(1) and (b)(1)(A), (b)(1)(B), subject to forfeiture pursuant to
                           Title 21 U.S.C. § 853(a)(1) and (2)J

       As a result of the foregoing criminal violations set forth in Count One and Two, the United

States of America gives notice to Defendant's JOSHUA LAWRENCE PEREZ, of its intent to

seek the forfeiture of the below described properties upon conviction and pursuant to Fed. R. Crim.

P. Rule 32.2 and Title 21 USC § 853(a)(l) and (2), which state:

       Title 21 USC § 853. Criminal forfeitures
               (a) Property subject to criminal forfeitures.
               Any person convicted of a violation of this subchapter or subchapter II of this
               chapter punishable by imprisonment for more than one year shall forfeit to the
               United States, irrespective of any provision of State law

                      (1) any property constituting, or derived from, any proceeds the
                      person obtained, directly or indirectly, as the result of such
                      violation;
                      (2) any of the person's property used, or intended to be used, in
                      any manner or part, to commit, or to facilitate the commission of,
                      such violation;




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                                                   H.
                         Firearms Violation and Forfeiture Statutes
  [Title 18 U.S.C. § 924(c)(1), 924(a) and 922(o), subject to forfeiture pursuant to Title 18
    U.S.C. § 924(d)(I), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461J


       As a result of the criminal violations set forth in Counts Three and Four, the United States

of America gives notice to Defendant JOSHUA LAWRENCE PEREZ, of its intent to seek the

forfeiture of the below described properties upon conviction and pursuant to Fed. R. Crim.     p.   32.2


and Title 18 U.S.C.   §   924(d)(l), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461,

which states:

       Title 18   U.SC. § 924. Penalties
       (d)(l) Any firearm or ammunition involved in or used in any knowing violation of
       subsection. . . (o).. . of section 922. . . or knowing violation of Section 924.,
       shall be subject to seizure and forfeiture. . . under the provisions of this chapter.

This Notice of Demand for Forfeiture includes but is not limited to the following properties

described below:

        I.      Glock 27 40 cal., SN: HMY27I w/Auto Fire Switch;
        2.      Glock 23, 40 cal. SN: KDW9O2; and
        3.      Any and all firearms, ammunition, and/or accessories involved in or used in the
                commission of the criminal offenses.



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JOHN F. BASH
United States Attorney


By:
        RISCILLA GARCIA
       Assistant United States Attorney
